

People v Commisso (2021 NY Slip Op 06102)





People v Commisso


2021 NY Slip Op 06102


Decided on November 09, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: November 09, 2021

Before: Renwick, J.P., Singh, Kennedy, Rodriguez, Pitt, JJ. 


Ind No. 1121/15, 1451/15, 2606/16 Appeal No. 14602 Case No. 2018-3142 

[*1]The People of the State of New York, Respondent,
vTyquan Commisso, Defendant-Appellant.


Caprice R. Jenerson, Office of The Appellate Defender, New York (Stephen R. Strother of counsel), for appellant.
Cyrus R. Vance, Jr., District Attorney, New York (John T. Hughes of counsel), for respondent.



Judgment, Supreme Court, New York County (Ellen N. Biben, J.), rendered March 15, 2017, as amended March 28, 2017, convicting defendant, upon his plea of guilty, of robbery in the first degree (two counts), conspiracy in the second degree and criminal possession of a weapon in the second degree, and sentencing him, to an aggregate term of 10 years, unanimously modified, on the law, to the extent of vacating the sentence and remanding for resentencing, including a youthful offender determination, and otherwise affirmed.
As the People concede, based on People v Rudolph (21 NY3d 497 [2013]), defendant is entitled to resentencing with an express youthful offender determination. THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: November 9, 2021








